101 F.3d 686
    NOTICE: THIS SUMMARY ORDER MAY NOT BE CITED AS PRECEDENTIAL AUTHORITY, BUT MAY BE CALLED TO THE ATTENTION OF THE COURT IN A SUBSEQUENT STAGE OF THIS CASE, IN A RELATED CASE, OR IN ANY CASE FOR PURPOSES OF COLLATERAL ESTOPPEL OR RES JUDICATA.  SEE SECOND CIRCUIT RULE 0.23.FERRARI NORTH AMERICA, INC., Petitioner-Appellee,v.CROWN AUTO DEALERSHIPS, doing business as Crown Jaguar,Inc., Respondent-Appellant.
    No. 95-9149.
    United States Court of Appeals, Second Circuit.
    May 29, 1996.
    
      Appearing for Appellant:  Walter E. Forehand, Myers &amp; Forehand, Tallahassee, Fla.
      Appearing for Appellee:  Carl J. Chiappa, Kirkpatrick &amp; Lockhart, N.Y., N.Y.
      S.D.N.Y.
      AFFIRMED.
      Before KEARSE, WINTER and CALABRESI, Circuit Judges.
    
    
      1
      This cause came on to be heard on the transcript of record from the United States District Court for the Southern District of New York, and was argued by counsel.
    
    
      2
      ON CONSIDERATION WHEREOF, it is now hereby ordered, adjudged, and decreed that the judgment of said District Court be and it hereby is affirmed substantially for the reasons stated in Judge Wood's Opinion and Order dated October 17, 1995.
    
    